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16                         UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18    CHRISTY PALMER, VARTAN                    Case No. 2:17-cv-06848
19    PIROUMIAN, and EDWARD COX,
                                                AMENDED COMPLAINT
20
                          Plaintiffs,
21                                              FOR EMPLOYMENT
            v.                                  DISCRIMINATION
22

23                                              CLASS ACTION
      COGNIZANT TECHNOLOGY
24    SOLUTIONS CORPORATION and,
                                                DEMAND FOR JURY TRIAL
      COGNIZANT TECHNOLOGY
25
      SOLUTIONS U.S. CORPORATION,
26
                          Defendants.
27

28

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 1

 2
            Plaintiffs Christy Palmer, Vartan Piroumian, and Edward Cox bring this action

 3
     on behalf of themselves and a class of similarly situated individuals to remedy

 4
     pervasive, ongoing race and national origin discrimination by Defendants Cognizant

 5
     Technology Solutions Corporation and Cognizant Technology Solutions U.S.

 6
     Corporation (collectively “Cognizant”), and allege as follows:

 7
                                  NATURE OF THE ACTION

 8
         1. Cognizant is an American multinational corporation that provides information

 9
     technology and consulting services to customers worldwide. Cognizant employs

10
     approximately 40,000 individuals in the United States. While only about 12% of the

11
     United States’ IT industry (the industry in which Cognizant operates) is South Asian,

12
     at least 75% (if not more) of Cognizant’s United States workforce is South Asian (all,

13
     or substantially all, of whom are Indian).1 As discussed further below, this grossly

14
     disproportionate workforce is the result of a pervasive and egregious discriminatory

15
     scheme to favor South Asians and Indians (and disfavor non-South Asians and non-

16
     Indians) in hiring, promotion, and termination decisions.

17
         2. Cognizant’s employment practices violate the Civil Rights Act of 1866, as

18
     amended, 42 U.S.C. § 1981, and Title VII of the Civil Rights Act of 1964, as amended,

19
     42 U.S.C. § 2000e, et seq. (“Title VII”). Plaintiffs seek, on their own behalf, and on

20
     behalf of a class of similarly situated individuals, declaratory, injunctive, and other

21
     equitable relief, compensatory and punitive damages, including pre- and post-judgment

22
     1
       As used herein, “South Asian” refers to individuals who trace their ancestry to the
23
     Indian sub-continent. See, e.g., Fonseca v. Sysco Food Serv. of Az., Inc., 374 F.3d 840,
24   850 (9th Cir. 2004) (“Under 42 U.S.C. § 1981, discrimination based on ancestry or
     ethnic characteristics is prohibited” as discrimination based on race) (citation omitted).
25
     “Indian” refers to individuals born in India, or whose ancestors came from India. See,
26   e.g., Dawavendewa v. Salt River Project Agric. Improvement & Power Dist., 154 F.3d
     1117, 1119 (9th Cir. 1998) (holding that “national origin” refers to both a person’s
27
     place of birth, and the country from which his or her ancestors came).
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 1   interest, attorneys’ fees, and costs to redress Cognizant’s pervasive pattern and practice
 2   of discrimination.
 3                                          PARTIES
 4       3. Plaintiff Christy Palmer is a citizen of the United States, born in the United
 5   States, and of American national origin and Caucasian race. Ms. Palmer is a resident
 6   of Arizona.
 7       4. Plaintiff Vartan Piroumian is a citizen of the United States, born in the United
 8   States, and of American national origin and Caucasian race. Mr. Piroumian is a resident
 9   of California.
10       5. Plaintiff Edward Cox is a citizen of the United States, born in the United States,
11   and of Hispanic national origin and Caucasian race. He is a resident of Texas.
12       6. Plaintiffs are all members of a protected class, as recognized by 42 U.S.C. §
13   1981 and Title VII. Plaintiff Palmer and Plaintiff Piroumian have exhausted their
14   administrative remedies and have complied with the statutory prerequisites of filing a
15   Title VII complaint by filing charges against Cognizant with the U.S. Equal
16   Employment Opportunity Commission, and receiving notices of their right to sue.
17   Plaintiff Cox has filed a charge of discrimination with the EEOC and has requested his
18   notice of right to sue.2
19       7. Defendant Cognizant Technology Solutions Corporation is an American
20   multinational corporation that provides information technology and consulting
21   services. Cognizant Technology Solutions Corporations is a Delaware corporation and
22   maintains its World Headquarters and principal place of business in Teaneck, New
23   Jersey.
24       8. Cognizant Technology Solutions U.S. Corporation was incorporated in 1996
25   and is a Delaware corporation. It operates as a subsidiary of Cognizant Technology
26
     2
       Plaintiffs intend to amend the complaint to add Title VII claims for Mr. Cox upon
27
     receipt of his notice of right to sue.
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 1   Solutions Corporation and is headquartered in College Station, Texas.
 2                                       JURISDICTION
 3      9. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, 42
 4   U.S.C. § 2000e-5(f), et seq., and 42 U.S.C. § 1981(a).
 5      10. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a), as
 6   the amount in controversy exceeds the sum or value of $75,000, exclusive of interest
 7   and costs, and is between citizens of different states.
 8      11. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d) as
 9   this matter is a class action with an amount in controversy of greater than $5 million,
10   exclusive of interest and costs, and involves at least one class member who is a citizen
11   of a state and is brought against a corporation that is a citizen of a different state.
12      12. This Court has personal jurisdiction over Cognizant because it engages in
13   continuous and systematic business contacts within the State of California and
14   maintains a substantial physical presence in this State, including the operation of a
15   global delivery center in Sacramento, California, and a U.S.-based office in San
16   Ramon, California. Additionally, Plaintiffs’ claims arise, in part, out of Cognizant’s
17   activities in California.
18                                             VENUE
19      13. Venue is proper in the Central District of California under 28 U.S.C. § 1391(b)-
20   (c) because Cognizant resides in this District, conducts business within this District,
21   and committed some of the acts giving rise to this action within this District, as
22   described below, including in Cerritos, Irvine, and Carpenteria, California.
23                                  STATEMENT OF FACTS
24                           Overview of Cognizant’s Business Model
25      14. Cognizant has approximately 37 offices in the United States and employs
26   approximately 40,000 employees domestically. Cognizant collected over $13.4 billion
27   in revenue in the past fiscal year. The company derives over 78% of its revenue from
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 1   North America, the vast majority of which is from the United States.
 2      15. Cognizant contracts with U.S. companies to provide IT-related services. Once
 3   Cognizant secures a contract with a client, it hires individuals to fill positions to service
 4   the client. Both external applicants and existing employees must apply and interview
 5   for these positions. Once a position servicing a client comes to an end (or if an
 6   employee is removed from a position), individuals are placed in a Corporate
 7   Deployment Pool, also known as being placed on the “bench” or being “benched.”
 8   Once on the bench, individuals must again seek new positions within Cognizant, going
 9   through an application and interview process, just as external applicants must.
10                      Overview of Cognizant’s Discriminatory Scheme
11      16. Cognizant prefers South Asians and Indians in employment decisions and has
12   instituted four corporate practices to fulfill its discriminatory preference. First,
13   Cognizant prefers to employ South Asians and Indians in U.S. positions for whom
14   Cognizant secures visas, primarily H-1B visas. The federal government annually
15   awards 65,000 H-1B visas. Given the cap on H-1B visas, companies compete to secure
16   visas. Each year, H-1B visa applications are submitted at the beginning of April and
17   visas are then awarded in October. An H-1B visa application must identify a new
18   position within the U.S. available for the individual for whom the application is
19   submitted.
20      17. To fulfill its employment preference for South Asians and Indians, Cognizant
21   seeks to maximize the number of visas it receives each year from the federal
22   government. All, or substantially all, of the individuals for whom Cognizant secures
23   visas are South Asian and Indian. Cognizant was the top recipient of H-1B visas from
24   the U.S. government in 2015 and 2016, and received 15,547 and 21,459 newly
25   approved visa petitions in 2015 and 2016, respectively. (Cognizant also has filed
26   almost 20,000 L-1 petitions over the past decade.) A U.S. Senior Administration
27   Official recently commented on Cognizant’s use of the visa program to build an
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 1   inventory of South Asians:
 2          Right now, as you may know, H1B visas are awarded by random
 3
            lottery. . . . Just to illustrate a little bit more how the lottery works --
            so some companies oftentimes are called outsourcing firms. You may
 4          know their names well, but … the top recipients of the H-1B visa are
 5
            companies like Tata, Infosys, Cognizant -- they will apply for a very
            large number of visas, more than they get, by putting extra tickets in the
 6          lottery raffle, if you will, and then they’ll get the lion’s share of
 7
            visas. Which is very different than I think how most people think of
            the H1B program -- they imagine it for more -- being for -- again, they
 8          would think of it as being for skilled domestic work, rather than
 9          contract work.3
         18. One way Cognizant has become the top recipient of H-1B visas year after year
10
     is by submitting visa applications for jobs that do not exist. As part of this application
11
     process, Cognizant drafts “invitation letters” stating that clients have new work for
12
     Cognizant that Cognizant will need to staff. These invitation letters identify the foreign
13
     worker employed by Cognizant who will work in a specific job, at a specific U.S.-
14
     based location, and under the supervision and control of a specific Cognizant employee
15
     in the U.S. Cognizant then submits these letters to the federal government in support
16
     of Cognizant’s H-1B visa applications.
17
         19. Cognizant’s invitation letters are routinely false, and the jobs that Cognizant
18
     represents in visa applications as available and requiring staffing routinely do not exist.
19
     The federal government then awards visas against these fictitious positions.
20
         20. Through its visa practices, Cognizant has successfully built a robust inventory
21
     of South Asian and Indians available to staff U.S. positions. These individuals re given
22
     first – if not exclusive – preference for new U.S. positions, as they become available.
23
     These individuals are also sometimes used to replace non-South Asians and non-
24

25   3
      Background Briefing on Buy American, Hire American Executive Order, The White
26   House, Office of the Press Secretary (Apr. 17, 2017), available at
     https://www.whitehouse.gov/the-press-office/2017/04/17/background-briefing-buy-
27
     american-hire-american-executive-order.
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 1   Indians working in existing U.S. positions. Cognizant’s explicit preference to staff visa
 2   holders in U.S. positions minimizes or eliminates competition for the jobs from non-
 3   South Asians and non-Indians residing in the U.S. (including both external applicants
 4   and existing employees).      As a result,     non-South Asians and non-Indians are
 5   disproportionately relegated to the bench, as jobs are given to South Asians and
 6   Indians.
 7      21. Second, Cognizant gives preference to South Asian and Indian applicants
 8   located in the U.S. over non-South Asian and non-Indian applicants. Cognizant has an
 9   internal recruiting department responsible for locating talent within the U.S. These
10   efforts are supplemented by third-party recruiting companies. On information and
11   belief, both Cognizant’s internal recruiters and its third-party recruiters give preference
12   to locating and recruiting South Asian and Indian candidates, who are then given
13   preference throughout the hiring process. As a result, on information and belief,
14   Cognizant hires a disproportionately high percentage of South Asians and Indians
15   within the United States that far exceeds the proportion of those individuals in the
16   relevant labor market.
17      22. Third, because of its discriminatory preference for South Asians and Indians,
18   Cognizant promotes South Asians and Indians at disproportionately high rates
19   compared to non-South Asians and non-Indians. Employees in the U.S. are awarded
20   Year End Appraisals (“YEAs”) on a scale of 1 to 5 (5 being the highest, indicating that
21   the employee exceeded all expectations). Promotions at Cognizant are tied to an
22   employee’s YEA score, and employees receiving scores of 4 or 5 are more likely to
23   receive a promotion from Cognizant. Upon information and belief, non-South Asians
24   and non-Indians are typically awarded lower YEA scores, and thus, non-South Asians
25   and non-Indians are promoted less frequently than South Asians at Cognizant.
26      23. Fourth, because of its discriminatory preference for South Asians and Indians,
27   Cognizant terminates non-South Asians and non-Indians at disproportionately high
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 1   rates compared to South Asians and Indians. Cognizant has a policy to terminate
 2   employees who are on the bench for more than five weeks. Because South Asians and
 3   Indians are given preference for new positions, and these individuals are also used to
 4   displace non-South Asians and non-Indians on existing projects, non-South Asians and
 5   non-Indians are disproportionately relegated to the bench and unable to secure new
 6   positions. This leads to their termination at disproportionate rates.
 7      24. Cognizant’s discriminatory scheme is intentional and results in a disparate
 8   impact on non-South Asian and non-Indian individuals. Cognizant’s U.S. workforce
 9   reflects the result of its discriminatory scheme. At least 75% (if not more) of
10   Cognizant’s United States-based workforce is South Asian (all, or substantially all, of
11   whom are Indian). By contrast, during the 2010 census, all Asian subgroups combined
12   made up 4.8% of the U.S. population. South Asians made up 1-2% of the U.S.
13   population and about 12% of the U.S. IT industry.
14                               Plaintiff Palmer’s Experiences
15      25. Ms. Palmer has almost 20 years of advanced training and job experience in the
16   IT services industry, including extensive senior management experience. She obtained
17   a Bachelor of Applied Science degree from the University of Phoenix in 2005 and has
18   also taken related courses at Pima Community College. She was hired by Cognizant
19   in December 2012 and worked for three years in a management-level role overseeing
20   client projects. Her main responsibilities included serving as a Consulting Manager
21   across all roles, an Application Migration Manager, and a UAT Program Manager. Ms.
22   Palmer first reported to Raj Swaminathan, a Client Partner, who is South Asian.
23      26. During her tenure with Cognizant, Ms. Palmer was repeatedly removed from
24   her position servicing Cognizant clients and replaced with Indian South Asian workers.
25   For example, in early 2013, Cognizant required Ms. Palmer to relocate from Tucson,
26   Arizona to Cerritos, California to work for Cognizant client Caremore. However, just
27   four months later, Ms. Palmer was prematurely removed from this position and
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 1   replaced without any explanation by Kumar Praveen, who is South Asian. Ms. Palmer
 2   then relocated to Phoenix, Arizona, as requested by Cognizant, to perform work for
 3   Cognizant client United Healthcare. Just six months later, she was again prematurely
 4   removed from her position servicing United Healthcare and replaced by an Indian
 5   South Asian employee, Avanthi Kalidindi.
 6      27. In her manager-level role, Ms. Palmer oversaw the staffing of various positions
 7   servicing Cognizant clients. Ms. Palmer observed that Cognizant staffed initial client-
 8   based roles with non-South Asian, non-Indian employees and later replaced these
 9   individuals with visa holding South Asians once the project was in good standing. The
10   non-South Asian, non-Indian employees were then benched and forced to look for new
11   positions within the company.
12      28. When Ms. Palmer needed an additional employee to service a Cognizant client,
13   she would contact executive leadership. Cognizant routinely provided Ms. Palmer with
14   profiles of South Asian and Indian employees available to fill the openings. On one
15   occasion in early 2016, Ms. Palmer requested a specific non-South Asian, non-Indian
16   employee out of Michigan who was a good fit for the Enterprise Architect role for
17   Cognizant client BARD, but was told by Cognizant that a South Asian H-1B worker
18   from India would assume the position instead, despite being unqualified for the role.
19   On another occasion, upper management at Cognizant instructed Ms. Palmer to replace
20   a non-South Asian, non-Indian employee who had been working for BARD for three
21   to four months with an Indian South Asian. Ms. Palmer was later instructed to replace
22   a non-South Asian, non-Indian employee servicing Cognizant client PHH with a South
23   Asian employee.
24      29. Despite being hired by Cognizant as a manager of client projects, Ms. Palmer
25   was improperly reviewed as an infrastructure architect, and received unjustifiably low
26   performance ratings from her managers. For instance, in early 2016, Ms. Palmer
27   received a YEA of 3 on a scale of 1 to 5. Ms. Palmer contested this low rating, as she
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  1   had served as an Application Migration Lead for Cognizant’s CIS Horizontal Division
  2   the prior year in Thousand Oaks, California. Ms. Palmer had performed well in this
  3   role, and her team sold and signed over $10 million worth of deals for Cognizant over
  4   a 5-month period. Moreover, Ms. Palmer was consistently sought out by other business
  5   units for help and education in the Cognizant Applicant Lead Migration methodology
  6   sold by the company. However, Cognizant refused to alter Ms. Palmer’s appraisal score
  7   and forced her to take coaching classes. Ms. Palmer never received a promotion from
  8   Cognizant, despite performing well with the company for three years.
  9      30. Ms. Palmer was subject to a hostile work environment by South Asian and
 10   Indian employees. Ms. Palmer was often the only non-South Asian and non-Indian
 11   employee at her work location and was intentionally left off meeting invites and not
 12   invited to group lunches or after-work events. For instance, when working in Cerritos,
 13   California for Cognizant client Caremore, Ms. Palmer’s manager, Mr. Swaminathan,
 14   would often invite the entire staff except Ms. Palmer to all-team meetings, and would
 15   exclude her from the meetings. In the few instances that Ms. Palmer was invited to
 16   team meetings, South Asian and Indian managers would turn their back on Ms. Palmer
 17   when she was speaking, and ignore her ideas and suggestions. In fact, in late 2015,
 18   during an all-team meeting with Cognizant client PPH, Ms. Palmer was told to “shut
 19   the f*ck up” by Dimple Shah, an Indian South Asian Director from Cognizant, when
 20   contributing to the meeting.
 21      31. In the fall of 2016, Ms. Palmer was assigned to a position servicing Cognizant
 22   client AGI in Phoenix, Arizona that was scheduled to continue into 2017. Despite
 23   performing well in her managerial role, Ms. Palmer was asked to relocate to Cleveland,
 24   Ohio so she could be replaced with an Indian South Asian worker. Ms. Palmer’s project
 25   team, however, advocated for her to remain with AGI for the duration of the contract,
 26   and Ms. Palmer was allowed to continue with her work.
 27      32. In December 2016, Ms. Palmer was forced to resign from Cognizant because
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  1   of the company’s discriminatory practices and hostile work environment. Her last day
  2   with the company was December 9, 2016.
  3                             Plaintiff Piroumian’s Experiences
  4      33. Vartan Piroumian has over 30 years of professional experience and advanced
  5   training in software engineering, software architecture, and enterprise architecture. He
  6   holds a Bachelor’s Degree in Computer Science and has studied at both MIT and UC
  7   Irvine. Mr. Piroumian has authored 8 publications on Java technology and was a staff
  8   instructor for the UC Santa Cruz Professional Extension program.
  9      34. Mr. Piroumian began working with Cognizant on April 1, 2012 as an Enterprise
 10   Architect. During his tenure with Cognizant, Mr. Piroumian’s was repeatedly removed
 11   from positions servicing Cognizant clients prematurely and replaced with less
 12   qualified, Indian South Asian employees. Examples of this pattern include:
 13      • In 2012, with client News America Marketing, Krishna Marepalli, Director of
 14         Business Development, replaced Mr. Piroumian with an Indian South Asian
 15         employee;
 16      • In September 2012, with client John Wiley and Sons, Mr. Piroumian was
 17         replaced after just 6 weeks by a less qualified Indian South Asian employee;
 18      • In March 2013, with client Ithaka, Cognizant’s all-Indian account team replaced
 19         Mr. Piroumian with an Indian South Asian employee;
 20      • In 2013, with client PR Newswire, Mr. Piroumian was replaced by an Indian
 21         South Asian employee;
 22      • In January 2014, with client Optum Rx in Irvine, California, Mr. Piroumian was
 23         prematurely replaced with a less qualified Indian South Asian employee;
 24      • On May 3, 2015, with client Prudential, Mr. Piroumian was released prematurely
 25         despite performing well in his role;
 26      • On May 27, 2016, with client CR Bard, Mr. Piroumian was released from his
 27         position and replaced by Prabaharan Kalirethinam, an Indian South Asian
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  1          employee, despite the protests of Christy Palmer, the project manager, who
  2          praised Mr. Piroumian’s work;
  3       • In September 2016, with client AIG in Houston, Texas, despite receiving a
  4          favorable review from John Troxel, the Cognizant Program Manager with AIG,
  5          Mr. Piroumian was removed from a 9-month project after just four weeks, and
  6          the South Asian account manager, Deepak Jha, replaced him with an Indian
  7          South Asian employee, Thirunavukkarasu Sagadevan, who was not a qualified
  8          Enterprise Architect and did not have the proper skillset to assume the role;
  9       • On March 10, 2017, with client Gymboree in San Francisco, Mr. Piroumian was
 10          prematurely removed despite receiving positive feedback from Biswadeep Hota,
 11          the Cognizant Project Manager.
 12       35. Mr. Piroumian also experienced discrimination in his efforts to obtain new
 13   positions with Cognizant clients. For example, on July 29, 2013, Mr. Piroumian
 14   performed well during an interview for Cognizant client Comcast, which selected him
 15   for the role, and informed him that he was the first of 25 candidates to pass the client’s
 16   technical phone screen. On August 2, 2013, however, Cognizant informed Mr.
 17   Piroumian that he was not being allocated to the role, and instead an Indian South Asian
 18   employee was selected for the opening.
 19       36. On May 8, 2014, Mr. Piroumian performed well during an interview for an
 20   Enterprise Architect role with Cognizant client Bank of America and was selected by
 21   the client. Later that day, Mr. Piroumian received an email from Basavaraj Hukkeri, a
 22   South Asian Director at Cognizant, informing Mr. Piroumian that he was “not [the]
 23   right fit” for the position.4 Instead, an Indian South Asian employee was selected for
 24   the role.
 25
      4
 26    Later that same day, Mr. Piroumian received a second email from Mr. Hukkeri stating,
      “I found Vartan to be [a] highly proficient Enterprise level solution Architect. Please
 27
      feel free to consider him for any of your requirements[.]”
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  1      37. On May 16, 2014, after performing well during a Xerox client interview, Mr.
  2   Piroumian was notified by Pamod Kariyadath Panaghat, the team’s Indian South Asian
  3   account manager, that he was selected for the opening. Mr. Piroumian placed several
  4   calls to Mr. Panaghat over the next few days regarding his allocation, yet received no
  5   reply, and was never allocated to Xerox.
  6      38. Mr. Piroumian repeatedly complained about his discriminatory treatment, but
  7   his complaints proved futile. Mr. Piroumian complained of discrimination to his
  8   manager, Purna Roy, during an August 10, 2015 telephone call, in hopes that Mr. Roy
  9   would escalate his complaint to the appropriate Human Resources manager.
 10   Specifically, Mr. Piroumian informed Mr. Roy that his release from his position
 11   servicing Prudential on May 3, 2015 was discriminatory, as despite his exemplary
 12   work, he was removed from his role, whereas Saisekhar Patnaik, an Indian South Asian
 13   employee who performed similar work, was retained. Mr. Roy, however, failed to
 14   escalate or investigate Mr. Piroumian’s complaint, and instead informed him that he
 15   should not question Indian management’s directives.
 16      39. In January 2016, Mr. Piroumian again reported Cognizant’s discrimination to
 17   Mr. Roy and informed him of a certain Indian South Asian manager’s attempts to
 18   discredit his work. Mr. Roy took no action.
 19      40. On January 11, 2016, Mr. Piroumian began servicing Cognizant client CR Bard.
 20   The two project Directors, Nadimpalli Narasimha Rao and Gopakumar Narayanan
 21   Nair, both Indian South Asians, instructed Mr. Piroumian not to meet with the client
 22   or attend any client-facing meetings, thereby preventing him from fully participating
 23   in the contracted work. The following month, Mr. Rao instructed Mr. Piroumian to
 24   work from home, further impeding his ability to lead and take initiative among his
 25   peers. On February 1, 2016, during his weekly status report to leadership in India, Mr.
 26   Piroumian highlighted the discriminatory communication, coordination, and planning
 27   issues he noticed while servicing CR Bard, yet no action was taken by management.
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  1   On April 9 and April 20, 2016, Mr. Piroumian asked his manager, Mr. Roy, to provide
  2   him with the appropriate contact in Human Resources to report Cognizant’s
  3   discriminatory conduct, but his requests were ignored.
  4      41. In July 2016, Mr. Roy stopped giving Mr. Piroumian work, negatively affecting
  5   Mr. Piroumian’s utilization rate at Cognizant.
  6      42. Mr. Piroumian worked with Cognizant client AIG in Houston, Texas for four
  7   weeks beginning August 29, 2016. He was prematurely replaced with an unqualified
  8   Indian South Asian employee even though Mr. Piroumian had received a favorable
  9   review on the project from the Cognizant Program Manager with AIG. On October 4,
 10   2016, Mr. Piroumian informed Mr. Roy that his removal from AIG was discriminatory.
 11   Mr. Roy refused to acknowledge Mr. Piroumian’s grievance and informed him that his
 12   early removal from the position indicated that his work was unsatisfactory even though
 13   Mr. Piroumian had received accolades for his work.
 14      43. On May 2, 2017, Mr. Piroumian again requested that Mr. Roy provide him with
 15   Human Resources’ contact information, so that he could submit a formal complaint of
 16   discrimination. Mr. Roy finally answered Mr. Piroumian’s inquiries on May 8.
 17      44. On May 16, 2017, Mr. Piroumian spoke with Human Resources Director Paul
 18   Vanbuhler and Human Resources Compliance and Employee Relations Advisor
 19   Sabrena Civil. During the call, Mr. Piroumian outlined the discrimination he had
 20   experienced during his tenure at Cognizant, and requested a written summary of their
 21   ensuing investigation, but they refused.
 22      45. Mr. Piroumian received discriminatory performance appraisals from his Indian
 23   South Asian supervisors at Cognizant and never received a promotion. In 2014, Mr.
 24   Piroumian received YEA scores of 5 out of 5 (5 being the highest) when reporting to
 25   Jean-Claude Franchitti, who is not Indian or South Asian. In 2015, when he was
 26   reporting to Mr. Roy, who is an Indian South Asian, Mr. Roy awarded him a YEA
 27   rating of 3. While Mr. Piroumian repeatedly requested documentation and feedback
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  1   supporting Mr. Roy’s low appraisal, his requests were ignored. Despite performing
  2   well throughout 2016, Mr. Piroumian received a “meets some expectations” YEA (a 2
  3   out of 5) from Mr. Roy. Mr. Piroumian vehemently contested the low appraisal score,
  4   and forwarded Mr. Roy various accolades he had received throughout the year. Mr.
  5   Piroumian also requested that Mr. Roy provide him with documentation of his poor
  6   performance. Mr. Roy refused to address Mr. Piroumian’s concerns.
  7      46. On May 25, 2017, Mr. Piroumian asked Mr. Roy to allocate him to an open
  8   position within Cognizant. Mr. Roy informed Mr. Piroumian that a few opportunities
  9   were available, and that his profile would be submitted for an open role. Five days
 10   later, Mr. Piroumian received a voicemail message from Mr. Roy, informing him that
 11   he was being placed on the bench effective May 31, 3017. Mr. Piroumian later received
 12   an email stating his first day on the bench was June 19.
 13      47. While benched, Mr. Piroumian was contacted by just two Cognizant employees
 14   concerning open roles within the company. On July 19, he received an email from
 15   Sandeep Mehta discussing an Enterprise Architect role in Denver, Colorado or Atlanta,
 16   Georgia. However, Mr. Mehta failed to provide Mr. Piroumian with any details as to
 17   his proposed job functions, and failed to call him to discuss the role as promised. As a
 18   result, he was not offered the Enterprise Architect position. On July 24, Mr. Piroumian
 19   was contacted by Kapil Apshankar regarding a DevOps Transformation Director role
 20   in Toronto, Canada. After exchanging initial emails with Mr. Apshankar discussing the
 21   role, Mr. Piroumian never heard back from Mr. Apshankar, and was not invited to
 22   interview for the open position.
 23      48. Mr. Piroumian remained on the bench for approximately six weeks. Cognizant
 24   terminated his employment on August 2, 2017.
 25      49. Cognizant’s discriminatory conduct has caused Mr. Piroumian to seek medical
 26   treatment for stress, anxiety, and sleep-related issues. Mr. Piroumian first visited his
 27   primary care physician in November 2016, and was prescribed an antidepressant. His
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  1   physician increased his dosage in May 2017, as the result of increased stress and Mr.
  2   Piroumian’s continued inability to sleep. Mr. Piroumian was also referred to a
  3   psychiatrist who he began seeing in June 2017.
  4                                 Plaintiff Cox’s Experiences
  5      50. Edward Cox is an experienced and highly skilled IT professional with over 35
  6   years of academic and work experience. Mr. Cox began working for Cognizant in
  7   January 2014 as an Infrastructure Engagement Manager / Program Manager (a senior
  8   level, director role) supporting infrastructure services and staffing sales and delivery
  9   for North American clients.
 10      51. During his first year at Cognizant, Mr. Cox reported to Anil Bhandari, who is
 11   South Asian and Indian. During client-facing meetings, Mr. Bhandari would talk over
 12   Mr. Cox, and refuse to allow him to speak to the client. Mr. Bhandari routinely spoke
 13   in Hindi while discussing client-related work and sales opportunities.
 14      52. Starting in 2015, Mr. Cox began reporting to Deepak Parameswaran, Senior
 15   Vice President, Infrastructure Services. In early 2016, Mr. Cox began reporting to Bala
 16   Balasubmaranian,     a   Senior    Director.   Both   Mr.   Parameswaran     and    Mr.
 17   Balasubmaranian are South Asian and Indian. Mr. Parameswaran and Mr.
 18   Balasubmaranian took little interest in Mr. Cox or his work, and failed to provide him
 19   with any performance reviews or regular feedback.
 20      53. Mr. Cox did not receive a single performance review during his three years of
 21   employment with Cognizant, thereby precluding him from receiving a raise or a
 22   promotion, despite performing well. Further, when Mr. Cox’s travel and hospitality
 23   vertical met all of its revenue goals in 2016, and ranked first in four key customer
 24   attributes, Mr. Cox received a lower bonus than his South Asian and Indian team
 25   members.
 26      54. Mr. Cox was treated poorly by his South Asian and Indian colleagues and
 27   managers, who created a hostile work environment for him. For instance, in late 2016,
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  1   Mr. Cox’s manager, Mr. Balasubmaranian, intentionally did not invite Mr. Cox to the
  2   annual pre-sales kickoff meeting, preventing Mr. Cox from participating in defining
  3   Cognizant’s sales strategy as he had done in prior years. Mr. Cox’s managers and team
  4   members also spoke Hindi socially and during meetings, precluding Mr. Cox from
  5   fully participating in client-based work.
  6      55. In January 2017, Mr. Cox’s manager, Mr. Balasubmaranian, informed him that
  7   he was being benched. While on the bench, Mr. Cox interviewed for multiple open
  8   roles within Cognizant, but was told that he was not “vetted” or proven qualified for
  9   the positions, despite having already performed the same role for Cognizant client PHH
 10   Mortgage the prior year and meeting all project deliverables and milestones on time
 11   and under budget. Less qualified Indian South Asian employees were selected for the
 12   open positions. On one occasion, Mr. Cox was asked to meet with Cognizant client
 13   Country Financial in Illinois to develop an agenda and presentation to address the
 14   client’s IT needs. After Mr. Cox spoke with the client and completed this preliminary
 15   work, Cognizant refused to allow him to travel for the presentation two days later, and
 16   the role was given to a less qualified, Indian South Asian employee.
 17      56. Cognizant terminated Mr. Cox’s employment on April 3, 2017 with no
 18   severance. Although Cognizant informed Mr. Cox that his termination was due to his
 19   prolonged period on the bench, Mr. Cox was actually terminated because of
 20   Cognizant’s preference for employees of South Asian race and Indian national origin.
 21                            CLASS ACTION ALLEGATIONS
 22      57. Plaintiffs bring this Class Action pursuant to Federal Rule of Civil Procedure
 23   23(a), (b)(2), (b)(3), and (c)(4), seeking injunctive, declaratory, equitable, and
 24   monetary relief for Cognizant’s systematic pattern and practice of discriminatory
 25   employment practices based upon individuals’ race and national origin. This action is
 26   brought on behalf of the following class of individuals:
 27            All persons who are not of South Asian race or Indian national origin
 28
               and who applied for positions with (or within) Cognizant and were
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  1             not hired, who were not promoted after being in a position at least
                12 months, and/or who were terminated.
  2
         58. The class period runs from September 18, 2013 onwards.
  3
         59. Members of the class are so numerous and geographically dispersed across the
  4
      United States that joinder is impracticable. While the exact number of class members
  5
      is unknown to Plaintiffs, it is believed to be in the thousands. Furthermore, the class is
  6
      readily identifiable from information and records in Cognizant’s possession.
  7
         60. There are numerous questions of law and fact common to the class. Among the
  8
      common questions of law or fact are:         (a) whether Cognizant has intentionally
  9
      discriminated against individuals who are not of South Asian race or Indian national
 10
      origin in making employment decisions; (b) whether Cognizant has intentionally
 11
      favored South Asians and Indians in hiring, promotion, and termination/retention
 12
      decisions; (c) whether Cognizant’s employment practices have resulted in a disparate
 13
      impact against non-South Asian and non-Indian individuals; (d) whether Cognizant has
 14
      violated 42 U.S.C. § 1981; (e) whether Cognizant has violated Title VII; (f) whether
 15
      equitable and injunctive relief is warranted for the class and (g) whether punitive
 16
      damages are warranted for the class.
 17
         61. Plaintiffs’ claims are typical of the class. All members of the class were
 18
      damaged by the same discriminatory policies and practices employed by Cognizant,
 19
      i.e., they were denied the opportunity to fairly compete for and obtain employment
 20
      with Cognizant, and were denied positions and promotions within the company.
 21
         62. Plaintiffs will fairly and adequately protect the interest of other class members
 22
      because they have no interest that is antagonistic to or which conflicts with those of
 23
      any other class member, and Plaintiffs are committed to the vigorous prosecution of
 24
      this action and have retained competent counsel experienced in class litigation to
 25
      represent them and the class.
 26
         63. Because of Cognizant’s actions, Plaintiffs and the class they seek to represent
 27
      have suffered substantial harm for which punitive damages is warranted.
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  1      64. Class certification is appropriate pursuant to Federal Rule of Civil Procedure
  2   23(b)(2) because Cognizant has acted and/or refused to act on grounds generally
  3   applicable to the class, making declaratory and injunctive relief appropriate with
  4   respect to Plaintiffs and the class as a whole. Members of the class are entitled to
  5   declaratory and injunctive relief to end Cognizant’s systematic, common, uniform,
  6   unfair, and discriminatory policies and practices.
  7      65. Class certification is appropriate pursuant to Federal Rule of Civil Procedure
  8   23(b)(3) for determination of the damage claims of individual class members because
  9   the issue of liability is common to the class and the common nucleus of operative facts
 10   forms the central issue, which predominates over individual issues of proof. The
 11   primary question common to the class is whether Cognizant has discriminated on the
 12   basis of race and national origin in their employment practices. This question is central
 13   to the case and predominates over individual issues among the members of the
 14   proposed class. Cognizant has engaged in a common course of discriminatory conduct
 15   in a manner that has harmed all of the class members. Class certification under Rule
 16   23(b)(3) would be superior to other methods for fair and efficient resolution of the
 17   issues because certification will avoid the need for repeated litigation by each
 18   individual class member. The instant case will be manageable as a class action.
 19   Plaintiffs know of no difficulty to be encountered in the maintenance of this action that
 20   would preclude its maintenance as a class action.
 21      66. In the alternative, class certification is appropriate pursuant to Federal Rule of
 22   Civil Procedure 23(c)(4) to litigate Plaintiffs’ claims for prospective classwide
 23   compliance and affirmative injunctive relief necessary to eliminate Cognizant’s
 24   discrimination. Certification under this rule is also appropriate to decide whether
 25   Cognizant has adopted a systemic pattern and practice of race and national origin
 26   discrimination in hiring and employment decisions and/or has engaged in practices that
 27   have resulted in a disparate impact against non-South Asian and non-Indian
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  1   individuals, and to determine classwide damages, including punitive damages.
  2                                        COUNT I
  3
                          (Disparate Treatment on the Basis of Race)
             (Violation of Civil Rights Act of 1866, as amended, 42 U.S.C. § 1981)
  4                        (On behalf of all Plaintiffs and the Class)
  5      67. Plaintiffs re-allege each preceding paragraph as though fully set forth herein.
  6      68. This claim is brought by Plaintiffs on behalf of themselves and the class.
  7      69. Throughout the class liability period, Cognizant has engaged in a pattern and
  8   practice of discriminating against individuals who are not of South Asian race by: (a)
  9   knowingly and intentionally favoring South Asian individuals in employment
 10   decisions, including hiring, promotion, and termination decisions, (b) knowingly and
 11   intentionally disfavoring non-South Asian individuals (including Plaintiffs) in
 12   employment decisions, including hiring, promotion, and termination decisions, (c)
 13   knowingly and intentionally creating and maintaining an overwhelmingly
 14   disproportionate workforce in the United States consisting of at least 75% (if not more)
 15   South Asian employees.
 16      70. As a direct and proximate result of Cognizant’s intentional discrimination,
 17   Plaintiffs and members of the class have been denied employment, denied the fair
 18   opportunity to obtain employment, and denied fair opportunities with regard to
 19   advancement, and/or continued employment with Cognizant.
 20      71. Cognizant’s actions constitute unlawful discrimination on the basis of race in
 21   violation of 42 U.S.C. § 1981.
 22                                        COUNT II
              (Disparate Treatment on the Basis of Race and National Origin)
 23
       (Violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
 24                                      2000e, et seq.)
                 (On behalf of Plaintiffs Palmer, Piroumian, and the Class)
 25
         72. Plaintiffs re-allege each preceding paragraph as though fully set forth herein.
 26
         73. This claim is brought by Plaintiffs Palmer and Piroumian on behalf of
 27
      themselves and the class.
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  1      74. Throughout the class liability period, Cognizant has engaged in a pattern and
  2   practice of discriminating against individuals who are not of South Asian race or Indian
  3   national origin by: (a) knowingly and intentionally favoring individuals of South Asian
  4   race and Indian national origin in employment decisions, including hiring, promotion,
  5   and termination decisions, (b) knowingly and intentionally disfavoring individuals who
  6   are not of South Asian race and Indian national origin (including Plaintiffs) in
  7   employment decisions, including hiring, promotion, and termination decisions, and (c)
  8   knowingly and intentionally creating and maintaining an overwhelmingly
  9   disproportionate workforce in the United States consisting of at least 75% (if not more)
 10   South Asian employees (all, or substantially all, of whom are Indian).
 11      75. As a direct and proximate result of Cognizant’s intentional discrimination,
 12   Plaintiffs and members of the classes have been denied employment, denied the fair
 13   opportunity to obtain employment, and denied fair opportunities with regard to
 14   promotion and/or continued employment with Cognizant.
 15      76. Cognizant’s actions constitute unlawful discrimination on the basis of race and
 16   national origin in violation of 42 U.S.C. § 2000e, et seq.
 17                                       COUNT III
 18
                (Disparate Impact on the Basis of Race and National Origin)
       (Violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
 19                                      2000e, et seq.)
 20
                 (On behalf of Plaintiffs Palmer, Piroumian, and the Class)
         77. Plaintiffs re-allege each preceding paragraph as though fully set forth herein.
 21
         78. This claim is brought by Plaintiffs Palmer and Piroumian on behalf of
 22
      themselves and the class.
 23
         79. Throughout the class liability period, Cognizant has used policies and practices
 24
      related to hiring, promotion, and termination of individuals that have had a disparate
 25
      impact on the basis of national origin and race (harming those who are not of South
 26
      Asian race or Indian national origin) that are neither job-related for the positions at
 27
      issue nor consistent with business necessity.
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  1      80. Cognizant’s actions constitute unlawful discrimination on the basis or race and
  2   national origin in violation of 42 U.S.C. § 2000e, et seq.
  3                                  PRAYER FOR RELIEF
  4   WHEREFORE, Plaintiffs and the class pray for relief as follows:
  5   a. Certification of the case as a class action pursuant to Federal Rule of Civil Procedure
  6      23;
  7   b. Designation of Plaintiffs as representatives of the class;
  8   c. Designation of Plaintiffs’ counsel as counsel for the class;
  9   d. A declaratory judgment that the practices complained of herein are unlawful and
 10      violate 42 U.S.C. § 1981 and Title VII;
 11   e. A permanent injunction against Defendants and their officers, agents, successors,
 12      employees, representatives, and any and all persons acting in concert with them,
 13      from engaging in unlawful policies, practices, customs, and usages set forth herein;
 14   f. Order Defendants to adopt a valid, non-discriminatory method for hiring,
 15      termination, and other employment decisions;
 16   g. Order Defendants to post notices concerning its duty to refrain from discriminating
 17      against employees on the basis of race and national origin;
 18   h. Award Plaintiffs and the class damages for the harm they suffered as a result of
 19      Defendants’ violations of 42 U.S.C. § 1981 and Title VII;
 20   i. Award Plaintiffs and the class pre- and post-judgment interest at the prevailing rate
 21      on the compensatory damages as a result of Defendants’ discriminating against
 22      them in violation of 42 U.S.C. § 1981 and Title VII;
 23   j. Award reasonable attorneys’ fees, expert witness fees, expenses, and costs of this
 24      action and of prior administrative actions; and
 25   k. Award Plaintiffs and the class such other relief as this Court deems just and
 26      appropriate.
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  1                                       JURY DEMAND
  2         Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs and the class
  3   respectfully demand a trial by jury on all issues properly triable by a jury in this action.
  4
      DATED: January 11, 2018                         Respectfully submitted,
  5
                                                      /s/Daniel Low
  6
                                                      Daniel L. Low, SBN 218387
  7                                                   Michael von Klemperer (pro hac vice)
                                                      KOTCHEN & LOW LLP
  8
  9                                                   Attorneys for Plaintiffs
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